Case 1:07-cv-01238-LG-RHW Document184-5 Filed 10/14/09 Page1 of 22

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

MARGUERITE CARRUBBA PLAINTIFF
V. CIVIL ACTION NO. 1:07CV01237LG-JMR

HARRISON COUNTY, MISSISSIPPI,

BY AND THROUGH ITS BOARD OF SUPERVISORS;

SHERIFF GEORGE PAYNE, JR., IN HIS OFFICIAL AND

INDIVIDUAL CAPACITY; MAJOR WAYNE PAYNE, MAJOR

DIANNE GASTON RILEY, STEVE CAMPBELL, RICK GASTON,

RYAN TEEL, KARLE STOLZE, WILLIAM PRIEST,

AMERICAN CORRECTIONAL ASSOCIATION, JOHN DOES 1-4,

OFFICIALLY AND IN THEIR INDIVIDUAL CAPACITY,

JAMES A. GONDLES, JR., HEALTH ASSURANCE LLC.,

J.L. WHITE DEFENDANTS

PRE-DISCOVERY DISCLOSURE OF CORE INFORMATION
BY DEFENDANTS HARRISON COUNTY SHERIFF’S OFFICE
AND SHERIFF GEORGE PAYNE, JR.

COME NOW, Defendants, Sheriff George Payne, Jr., Wayne Payne, Dianne
Gatson-Riley, Steve Campbell, officially and in their individual capacities, by and through
their attorneys of record, Dukes, Dukes, Keating & Faneca, P.A., pursuant to Rule 26.1 of
the Uniform Local Rules of the United States District Court for the Southern District of
Mississippi, and hereby discloses the following information:

Defendants do not intend that this disclosure constitutes a waiver of any objection
to producing documents on the basis of relevancy, confidentiality, privilege or on any other
basis that would make a particular document non-discoverable under the Federal Rules
of Civil Procedure and/or other applicable laws or rules of Court. Furthermore, this
disclosure is not a waiver of objections to the admissibility of any documents on the basis

of relevancy, confidentiality, privilege or on any other such basis that would make a

EXHIBIT

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particular document inadmissible under the applicable Federal Rules of Evidence and/or
other applicable laws or rules of Court.

This Voluntary Disclosure Statement shall consist of three separate parts. Part I.
is the identification of all witnesses whom Defendants believe may have discoverable
knowledge that Defendants may use to support their claims or defenses, with the exception
of individuals that will be used solely for impeachment. Part Il. is the identification, by
category, of documents that these Defendants may use to support their claims or
defenses, with the exception of documents that will be used solely for impeachment. To
the extent documents are confidential and contain proprietary or privileged information,
Defendants will not produce them for inspection or copying. See Part Ill.

I.
1. Name and, if known, the address and telephone number of each individual likely
to have discoverable information relevant to Defendants’ claims or defenses, with the
exception of those used solely for impeachment:
A. Sheriff George Payne, Jr.
Former Harrison County Sheriff
Harrison County Adult Detention Center
10451 Larkin Smith Road, Gulfport, MS 39503
Phone number: 228-865-7092
Subject Matter: Sheriff Payne was the Sheriff of Harrison County at time of -
alleged events. Also Defendant
B. Major Dianne Gaston-Riley
Former Warden at the Harrison County Sheriffs Department
Subject Matter: At the time of the events alleged in the Complaint, Major
Riley was the Warden of the Harrison County Adult Detention Center
Administrator. Also Defendant.

C. Don Cabana
Harrison County Sheriffs Department

Subject Matter: Current Warden of the Harrison County Adult Detention
Center Administrator.
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D. Healthcare Assurance Personnel
Subject Matter: Healthcare contractor at Harrison County Adult Detention
Center.

E. Captain Steve Campbell
Former Harrison County Sheriffs Department Director of Professional
Standards
Harrison County Adult Detention Center
10451 Larkin Smith Road, Gulfport, MS 39503
Phone number: 228-865-7092
Subject Matter: Captain Campbell conducted an internal investigation
regarding the events alleged in the Complaint. Also Defendant.

F. Investigator Darwin McMahan
Harrison County Sheriff's Office
Harrison County Adult Detention Center
10451 Larkin Smith Road, Gulfport, MS 39503
Phone number: 228-865-7092
Subject Matter: Former Investigator with Internal Affairs, Harrison County
Sheriff's Department.

G. Sheriff Melvin Brisolara
Harrison County Sheriff's Office
Harrison County Adult Detention Center
10451 Larkin Smith Road, Gulfport, MS 39503.
Subject Matter: Current Sheriff of Harrison County.

H. Kenny Rogers
Harrison County Adult Detention Center
10451 Larkin Smith Road, Gulfport, MS 39503
Subject Matter: Supervisor at Harrison Country Adult Detention Center.

I. Phil Taylor
Harrison County Adult Detention Center
10451 Larkin Smith Road, Gulfport, MS 39503.
Subject Matter: Supervisor at Harrison Country Adult Detention Center.

J. Kevin Fayard
Harrison County Adult Detention Center
10451 Larkin Smith Road, Gulfport, MS 39503.
Subject Matter: Current Captain of Internal Affairs, Harrison County
Sheriff's Department.

K. Steve Martin
Department of Justice
Subject Matter: Inspected the Harrison County Adult Detention Center
pursuant to the Consent Decree.
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L. Ron Werby
Harrison County Adult Detention Center
10451 Larkin Smith Road, Gulfport, MS 39503
Subject Matter: Former Investigator with Harrison County Sheriff's
Department

M. Captain Rick Gaston
Former Supervisor of Booking, Harrison County Adult Detention Center
Subject Matter: Defendant

N. Ryan Teel
Former Deputy, Harrison County Adult Detention Center
Subject Matter: Defendant

O. American Correctional Association employees
206 N. Washington St. Suite 200
Alexandria, VA 22314
Subject Matter: Defendant

P, Major Wayne Payne
Former Director of Operations, Harrison County Sheriff's Department
Subject Matter: Defendant

Q. Larry Benefield
Former Member of the Board of Supervisors
1820 23 Avenue
Gulfport, MS 39501
Subject Matter: Defendant

R. Marlin Ladner
Member of the Board of Supervisors
1801 23 Avenue
Gulfport, MS 39501
Subject Matter: Defendant

S. Connie Rocko
Member of the Board of Supervisors
1801 23" Avenue
Gulfport, MS 39501
Subject Matter: Defendant

T. William Martin
Member of the Board of Supervisors
1801 23" Avenue
Gulfport, MS 39501
Subject Matter: Defendant
Case 1:07-cv-01238-LG-RHW Document184-5 Filed 10/14/09 Page5of 22

U. Bobby Eleuterius
Former member of the Board of Supervisors
1801 23 Avenue
Gulfport, MS 39501
Subject Matter: Defendant

V. J.L. White
Employed by Health Assurance, LLC.
Subject Matter: Defendant; Nurse who examined Plaintiff.

Ww. Karl Stolze
Former Sheriff's Deputy, Harrison County Sheriff's Department
Subject Matter: Defendant

X. William Priest
Former Sheriff's Deputy, Harrison Country Sheriff's Department
Subject Matter: Defendant

Y. Ronald A. Roe, Jr. #4776
Pass Christian Police Department
Subject Matter: Arresting Officer

Z. J. McConnell #6962
Pass Christian Police Department
Subject Matter: Officer Assisting in Arrest

AA. Leslie Mathis
Harrison County Sheriff's Deputy, Harrison County Sheriffs Department
Subject Matter: Officer who may have been on duty during the period
Plaintiff was in the booking department at the Harrison County Adult
Detention Center.

BB. Justin Richards
Harrison County Sheriffs Deputy, Harrison County Sheriff's Department
Subject Matter: Officer who may have been on duty during the period the
Plaintiff was in the booking department at the Harrison County Adult
Detention Center

CC. Sgt. Earl Leonard
Harrison County Sheriff's Deputy, Harrison County Sheriff's Department
Subject Matter: Sgt. Leonard received a call from dispatch regarding a
complaint and subsequently spoke with Plaintiff regarding same.

DD. Cindy Gillespie

Harrison County Sheriffs Deputy, Harrison County Sheriff's Department
Subject Matter: Dispatcher on duty

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Case 1:07-cv-01238-LG-RHW Document184-5 Filed 10/14/09 Page 6 of 22

EE. Twonia Williams
Harrison County Sheriffs Deputy, Harrison County Sheriffs Department
Subject Matter: Officer on duty who informed Sgt. Leonard to report to
dispatch.

FF. Beth Desper
Harrison County Sheriff's Deputy, Harrison County Sheriffs Department
Subject Matter: Officer performed search on Plaintiff who acquired
Plaintiffs personal property when booked into Harrison County Adult
Detention Center.

GG. Karl Stolze
Former Harrison County Deputy .
Subject Mater: Officer on duty at time Plaintiff was booked into Harrison
County Adult Detention Center according to Post Assignment.

HH. William Priest
Former Harrison County Deputy
Subject Mater: Officer on duty at time Plaintiff was booked into Harrison
County Adult Detention Center according to Post Assignment

HI. Thomas Cummings
Former Harrison County Deputy
Subject Mater: Officer on duty at time Plaintiff was booked into Harrison
County Adult Detention Center according to Post Assignment

JJ. — Any witness named by Plaintiff regarding any jail incident.

KK. — Any individuals who witnessed or were involved in any incident identified
by Plaintiff.

LL. All employees of Health Assurance who participated in or have knowledge
of the incidents identified by Plaintiff.

MM. Any and all individuals identified by any party as potential witnesses that
may be called at trial in this cause.

NN. Any and all individuals identified in any reports or narratives provided by
any party.

OO. Any expert witness identified by any party during discovery.

PP. Any and all individuals who testified at the criminal trial of United States v.
Ryan Teel, et al., No. 1:06-cr-79.
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QQ. Any other persons identified in other parties’ initial disclosures.

A copy of or description by category and location of all documents, data

compilations and tangible things that are relevant to Defendant’s claims or defenses,

with the exception of documents that will be used solely for impeachment.

The following documents are disclosed:

1.

2.

3.

Uniform Arrest/Booking Form - 6/17/06

Booking Report

Sheriff Custody - Personal - CJ 287022

Inmate Personal Property & Sheriff Custody - Property List - 6/17/06
Sheriff Custody - Event History - CJ 287022

Sheriff Custody - Medical Observation - CJ 287022

Health Assurance, LLC. - Nurse’s Notes - 6/17/06

Sheriff's Office/Jail Receipt - 6/17/06

Inquiry

Booking Arrest

Booking History

Post Assignment - 6/17/06

Inmate Population Sheet - 6/17/06
Narrative - Sgt. Leonard - 6/17/06
Narrative - Sgt. Leonard - 6/18/06
Inmate Population Sheet - 6/17/06

Post Assignment 06/17/06 - 0700-1900
Case 1:07-cv-01238-LG-RHW Document184-5 Filed 10/14/09 Page 8 of 22

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Post Assignment 06/17/06 - 1900-0700

Harrison County Adult Detention Center Policies and Procedures Directive,
Use of Force

Harrison County Adult Detention Center Policies and Procedures Directive,
Use of Restraints

Harrison County Adult Detention Center Policies and Procedures Directive,
Health Care Services

Harrison County Adult Detention Center Policies and Procedures Directive,
Chain of Command

Harrison County Adult Detention Center Policies and Procedures Directive,
Booking and Receiving

Harrison County Adult Detention Center Policies and Procedures Directive,
Classification

Harrison County Adult Detention Center Policies and Procedures Directive,
Personal Property Inventory

Harrison County Adult Detention Center Policies and Procedures Directive,
Security Supervision of Holding Cells

Harrison County Adult Detention Center Policies and Procedures Directive,
Inmate Grievance

Harrison County Adult Detention Center Policies and Procedures Directive,
Training for Correctional Officers

Harrison County Adult Detention Center Policies and Procedures Directive,
Training Plans

Harrison County Sheriffs Department’s General Order #1, Code of Ethics

Harrison County Sheriffs Department’s General Order #2, Incident Data
Collection - Basic Report Writing Rules

Harrison County Sheriffs Department's General Order #6, Performance
Appraisal

Harrison County Sheriffs Department's General Order #10, Weapons and
Use of Force
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34. — Harrison County Sheriffs Department’s General Order #16, Arrest
Procedures

35. Harrison County Sheriff's Department’s General Order #17, Field Training
Program

36. Harrison County Sheriff's Department’s General Order #57, Employee
Grievances

37. Harrison County Sheriffs Department’s General Order #62, Employee
Discipline

38. Harrison County Sheriff's Department’s General Order #65, Professional
Standards Unit

39. Harrison County Sheriff's Department’s. Policies and Procedures Directive,
Telephone Usage

40. Training Records of Leslie Mathis

41. Training Records of Justin Richards

42. Training Records of Earl Leonard

43. Training Records of William Priest (will be supplemented)

44. Training Records of Beth Desper (will be supplemented)

45. _ Training Records of Karl Stolze

46. Acopy of the insurance policy in effect at the time of the incident

47. Defendants reserve the right to produce additional officers’ training records

in the event it is discovered other additional officer were involved in the
alleged incidents.
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PRIVILEGE LOG

A. All correspondence between counsel and Sheriff George Payne or any
other employee or agent of the Harrison County Sheriff's Office are protected by the
attorney-client privilege.

B. Investigative interviews and reports which were prepared or obtained by
the Defendant or his representatives are protected by the attorney-client privilege and/or
the work product doctrine as same were prepared in anticipation of litigation and/or as
part of an internal or criminal investigation.

Defendant reserves the right to supplement and/or amend this Disclosure as the course
of investigation and discovery progresses.

RESPECTFULLY SUBMITTED, this the 21st day of July, 2008.

SHERIFF GEORGE PAYNE, JR., WAYNE
PAYNE, DIANNE GASTON RILEY, AND STEVE
CAMPBELL, OFFICIALLY AND IN THEIR

INDIVIDUAL CAPACITIES,
Defendants

BY: DUKES, DUKES, KEATING & FANECA, P.A.

- BY:  s/Cy Faneca
CY FANECA

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Case 1:07-cv-01238-LG-RHW Document 184-5

Cy Faneca, MSB #5128

Joe C. Gewin, MSB #8851

Haley Broom MSB #101838

DUKES, DUKES, KEATING AND FANECA, P.A.
2909 13th St., Sixth Floor

Post Office Drawer W

Gulfport, MS 39502

Telephone: 228/868-1111

Facsimile: 228/863-2886

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CERTIFICATE OF SERVICE

|, CY FANECA, do hereby certify that | have this day electronically filed the
foregoing with the Clerk of the Court using the ECF system which sent notification of
such filing to the following:

James Bailey Halliday
P.O, Box 6783
Gulfport, MS 39502

John A. Foxworth, dr.
Foxworth Law Office, LLC
P.O. Box 2345

Gulfport, MS 39505

Robert Harenski
Robert G. Harenski and Associates
1906 Pass Road
Biloxi, MS 39531

Karen J. Young
Meadows Law Firm
P.O. Box 1076
Gulfport, MS 39502

James L. Davis

lan A. Brendel

Jim Davis, PA.
P.O. Box 1521
Gulfport, MS 39502

Robert H. Pedersen
Watkins & Eager
P.O. Box 650
Jackson, MS 392305

George D. Hembree, III
McGlinchey Stafford
P.O. Drawer 22949
Jackson, MS 39225

This, the 21st day of July, 2008.

s/Cy Faneca
CY FANECA

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

SOUTHERN DIVISION
MARGUERITE CARRUBBA PLAINTIFF
VERSUS CAUSE NO.: 1:07¢v1238-LG-RHW
HARRISON COUNTY, MISSISSIPPI, ET AL. DEFENDANTS

GEORGE PAYNE’S SECOND SUPPLEMENTAL RESPONSES TO PLAINTIFF’S
REQUESTS FOR PRODUCTION OF DOCUMENTS

COMES NOW Defendant George Payne, Jr , in his Official Capacity, by and through his
attorneys, Dukes, Dukes, Keating & Faneca, P.A., pursuant to the Federal Rules of Civil
Procedure, and produces this his First Supplemental Responses to Plaintiff's Requests for
Production of Documents, as follows, to wit:

Defendant reserves his right to supplement these Responses as investigation and
discovery continue.

REQUEST NO. 2: Produce a copy of any and all documents you may use as an exhibit

at trial.

RESPONSE: See following List of documents/videos/tangible things. Items 1-47 were
produced to Plaintiff in core discovery and Items 48-187 are attached herewith. Will provide
pursuant to Federal Rules of Civil Procedure.

Items 1 - 47 were previously produced to Plaintiff in Defendant’s Pre-Discovery
Disclosure; therefore only items 48 - 187 will be produced herewith:

1. Uniform Arrest/Booking Form - 6/17/06
2. Booking Report
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30.
31.

Sheriff Custody - Personal - CJ 287022

Inmate Personal Property & Sheriff Custody - Property List - 6/17/06

Sheriff Custody - Event History - CJ 287022

Sheriff Custody - Medical Observation - CJ 287022

Health Assurance, LLC. - Nurse’s Notes - 6/17/06

Sheriff's Office/Jail Receipt - 6/17/06

Inquiry

Booking Arrest

Booking History

Post Assignment - 6/17/06

Inmate Population Sheet - 6/17/06

Narrative - Sgt. Leonard - 6/17/06

Narrative - Sgt. Leonard - 6/18/06

Inmate Population Sheet - 6/17/06

Post Assignment 06/17/06 - 0700-1900

Post Assignment 06/17/06 - 1900-0700

Harrison County Adult Detention Center Policies and Procedures Directive, Use
of Force

Harrison County Adult Detention Center Policies and Procedures Directive, Use
of Restraints

Harrison County Adult Detention Center Policies and Procedures Directive,
Health Care Services

Harrison County Adult Detention Center Policies and Procedures Directive,

Chain of Command

Harrison County Adult Detention Center Policies and Procedures Directive,
Booking and Receiving

Harrison County Adult Detention Center Policies and Procedures Directive,
Classification

Harrison County Adult Detention Center Policies and Procedures Directive,
Personal Property Inventory

Harrison County Adult Detention Center Policies and Procedures Directive,
Security Supervision of Holding Cells

Harrison County Adult Detention Center Policies and Procedures Directive,
Inmate Grievance

Harrison County Adult Detention Center Policies and Procedures Directive,
Training for Correctional Officers

Harrison County Adult Detention Center Policies and Procedures Directive,
Training Plans

Harrison County Sheriff's Department’s General Order #1, Code of Ethics
Harrison County Sheriff's Department’s General Order #2, Incident Data
Collection - Basic Report Writing Rules
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32. Harrison County Sheriffs Department’s General Order #6, Performance
Appraisal

33. Harrison County Sheriff's Department’s General Order #10, Weapons and Use of
Force

34. Harrison County Sheriff's Department’s General Order #16, Arrest Procedures

35. Harrison County Sheriffs Department’s General Order #17, Field Training
Program

36. Harrison County Sheriff's Department’s General Order #57, Employee
Grievances

37. Harrison County Sheriff's Department’s General Order #62, Employee Discipline

38. Harrison County Sheriffs Department’s General Order #65, Professional
Standards Unit

39. Harrison County Sheriffs Department’s Policies and Procedures Directive,
Telephone Usage

40. Training Records of Leslie Mathis

41. Training Records of Justin Richards

42. Training Records of Earl Leonard

43. Training Records of William Priest (will be supplemented)

44, Training Records of Beth Desper (will be supplemented)

45. Training Records of Karl Stolze

46. | Acopy of the insurance policy in effect at the time of the incident

47. Defendants reserve the right to produce additional officers’ training records in the
event it is discovered other additional officer were involved in the alleged
incidents,

48. HCADC Policies and Procedures Directive, Inmate Grievance.

49. HCADC Policies and Procedures Directive, Monthly Statistical Reporting.

50. | HCADC Policies and Procedures Directive, Facility Goals.

51. HCADC Policies and Procedures Directive, Security Promotions.

52. HCADC Policies and Procedures Directive, Personnel Selection and Retention.

54. ACA Accreditation report August 2005.

55. ACA Visiting Committee Reports.

56. | ACA Contract.

57. ACA 2002 Accreditation Contract.

58. ACA 2002 Standards Compliance Audit.

59. ACA January 11, 2003, Commission on Accreditation for Corrections Panel
Action Report.

60. ACA 2005 Accreditation Contract.

61. ACA 2005 Standards Compliance Audit.
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ACA August 6, 2005, Commission on Accreditation for Corrections Panel Action
Report.

ACA Performance Based Standards for Adult Local Detention Center.

Harrison County Grand Jury members of March, 2000, report dated September 6,
2000.

Harrison County Grand Jury members of September,2000, report dated March 6,
2001.
Harrison County Grand Jury members of March ,2001, report dated September 7,
2001.

Harrison County Grand Jury members of September, 2001, report dated March 5,
2002.

Harrison County Grand Jury members of March, 2002, report dated September,
2002.

Harrison County Grand Jury members of September, 2002, report dated March,
2003.

Harrison County Grand Jury members of March, 2003, report dated September 2,
2003.

Harrison County Grand Jury members of September, 2003, report dated March 4,
2004.

Harrison County Grand Jury members of March, 2004, report dated September
13, 2004.

Harrison County Grand Jury members of September, 2004, report dated March
11, 2005.

Harrison County Grand Jury members of March, 2005, report dated November
15, 2005.

Harrison County Grand Jury members of November, 2005, report dated March 6,
2006.

Steve Martin’s Reports dated, March 4, 1997, October 30, 1997, July 17, 1998,
July 25, 2000, April 20, 2001 and February 20, 2002.

Letter to Steve Martin from Capt. Phil Taylor, May 24, 2006

United States Department of Justice, Housing of Federal Prisoners Agreement;
effective date December 1, 1981.

United States Department of Justice, Housing of Federal Prisoners; Modification
One of Agreement; effective date June 1, 1986.

United States Department of Justice, Housing of Federal Prisoners; Modification
Two of Agreement; effective date January 1, 1987.

United States Department of Justice, Housing of Federal Prisoners; Modification
Three of Agreement, effective date November 1, 1990.

IA Report; JA2002-81

IA Report; IA2003-05

IA Report; [A2003-06

TA Report; [A2003-08
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IA Report; [A2003-11
TA Report; [A2003-14
IA Report; [A 2003-15
TA Report; IA2003-19
TA Report; [A2003-21
1A Report; [A2003-22
IA Report; [A2003-24
IA Report; [A2003-29
IA Report; IA October 23, 2003
IA Report; [A2003-340
TA Report; [A2003-44
TA Report; [A2004-01
TA Report; [A2004-02
IA Report; [A 2004-03
IA Report; IA2004-04
TA Report; [A2004-08
TA Report; [A2004-09
IA Report; [A2004-13
IA Report; IA2004-18
IA Report; IA2004-19
1A Report; [A2004-20
IA Report; [A2004-22
IA Report; I[A2004-27
TA Report; [A2004-29

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Letter of Disciplinary Action of Martin Lipscomb, January 31, 2005
Letter of Disciplinary Action of Michael Minor, January 31, 2005
Letter of Disciplinary Action of Jerred Necaise, January 31, 2005
Letter of Disciplinary Action of Justin Branning, January 31, 2005

Letter of Written Reprimand Jeffrey Brawner, January 31, 2005

IA Report; [A2004-30
IA Report; [A2005-03
IA Report, [A2005-05
IA Report, 1A2005-06
IA Report, [A2005-07

Letter of Disciplinary Action of Daniel Evans, May 6, 2005
Investigative Interview of Smoky Joe Wilson, April 8, 2005

TA Report, [A2005-10
[A Report, [A2005-14
IA Report, [A2005-16
IA Report, [A2005-18
IA Report, [A2005-25
IA Report, [A2005-34
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Notice of Hearing of Dedri Caldwell, August 16, 2005

Letter of Disciplinary Action for Dedri Caldwell, August 18, 2005
Administrative Leave Letter for Dedri Caldwell, December 12, 2005
Letter of Disciplinary Action for Dedri Caldwell, December 21, 2005
Written Reprimand to Justin Richards, January 11, 2006

Written Reprimand to Dereck Blankinchip, January 11, 2006

Notice of Hearing to Kenneth Roberson, January 3, 2006

Written Reprimand to Kenneth Roberson, January 11, 2006

Written Reprimand to Morgan Thompson, January 11, 2006

Notice of Hearing to James Nicholson, January 6, 2006

Termination Notice to James Nicholson, January 13, 2006

Written Reprimand to Ben Lamey, January 11, 2006

TA Report, [A2006-02A

TA Report, 1A2006-04

Notice of Hearing to Dereck Blankinchip, January 30, 2006

Letter of Disciplinary Action to Dereck Blankinchip, February 8, 2006
Notice of Hearing to Eddie Collins, January 23, 2006

Letter of Disciplinary Action to Eddie Collins, January 26, 2006

IA Report, [A2006-05

Notice of Hearing to Daniel Evans, March 29, 2006

Letter of Disciplinary Action to Daniel Evans, April 4, 2006

Letter of Disciplinary Action to Karl Stolze, April 4, 2006

Officer Resignation Report for Karl Stolze, October 2, 2006

TA Report,[A2006-06

IA Report, investigation of complaint by Gretchen Bravo, March 29, 2006
IA Report, [A2006-16, April 27, 2006

TA Report, [A2006-21, May 22, 2006

Letter of Reprimand to Damon Reese, November 6, 2000

Letter of Reprimand to James Harrier, December 19, 2000

Letter of Reprimand to Richard Francabandera, August 12, 2003
Notice of Hearing to John Geas, August 28, 2003

Informational Report regarding John Geas, August 29, 2003
Resignation Acknowledgment to Jay S. Cox, January 5, 2005

Letter of Disciplinary Action to Lee Jackson, March 16, 2005

Notice of Hearing to Jerred Necaise, May 5, 2005

Resignation acknowledgment of resignation of Jerred Necaise, May 9, 2005
Office Termination Report for Regina Rhodes, April 17, 2006
Notice of Administrative Leave to Ruben Perez, May 24, 2006
Letter of Resignation from Ruben Perez, May, 2006

Letter of Disciplinary Action to William Priest, January 19, 2007

Gulfport Police Dept.Narrative Report regarding Marquerite Carrubba by Officer

Roe, June 17, 2006
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HCADC Inmate Jacket of Jill Patrice Dickey.

HCADC Inmate Jacket of Gary Brice McBay.

HCADC Inmate Jacket of Abra Horn

Narrative Form, Inmate John Wood, November 21, 2005.

Use of Force Report, John Wood, November 21, 2005,

Supervisory Taser Use Report, November 21, 2005.

Harrison County Sheriff's Department Count Sheet- 2003 |

Harrison County Sheriff's Dept. Classification Block Accountability-2004
Harrison County Sheriff's Dept. Classification Block Accountability-2005
Harrison County Sheriff's Dept. Classification Block Accountability-Jan. 2006
HCADC - Booked In/Released Inmates Chart; 2000 - 2006, and all supporting
documents.

HCADC - Grievances Filed Chart; 2000 - 2006, and all supporting documents.
HCADC- Grievances Filed Chart regarding officer misconduct; 2000-2006 and
all supporting documents,

HCADC - Programs/Services Count; 2000 - 2006, and supporting documents.
Monthly Statistical Reports, 2000 - 2006.

Inter Office Memo from Capt. Taylor - Inmate Grievance Report dated August
22, 2000.

Inter Office Memo from Capt. Rick Gaston- Handling of Inmates dated April 12,
2005.

Jail Meeting April 20, 2005- Roster and Memorandum of Understanding.
Gulfport Motor Vehicle Accident Report, June 17, 2006.

FIRST SUPPLEMENTAL RESPONSE: See following List of

documents/videos/tangible things. Items previously produced have been marked and items not

previously produced are attached herewith.

1.

SIDA WNL

Memorial Hospital at Gulfport medical records of Plaintiff. (Previously
Produced).

Open MRI, LLC medical records of Plaintiff. (Previously Produced).

Advanced Orthopedics, PLLC medical records of Plaintiff.

Eric Graham, M.D. medical records of Plaintiff. (Previously Produced).

Beatline Internal Medicine medical records of Plaintiff. (Previously Produced).
Gulf Coast Menatl Health medical records of Plaintiff. (Previously Produced),
Compass Imaging LLC medical records of Plaintiff.

Booking Videos:

a. Start 11-06-05 14:35 - Stop 11-07-05 11:05. McBay(Previously Produced)
b. Start 11-06-05 . McBay (Previously Produced)

c. Start 11-05-05 14:08 - Stop 11-06-05 14:36.
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Start 11-05-05 14:08 - Stop 11-06-05 14:35.

Start 11-06-05 14:35 - Stop 11-07-05.

Start 11-07-05 11:05 - 11-08-05 09:35.

Start 05-26-05 - Stop 05-7-05. Vanderburg (Previously Produced)
Start 09-10-05 07:16 - Stop 10/11/05 12:00.

Start 06-11-06 18:20 - Stop 06-19-06 07:20. Carrubba

Start 06-16-06 17:15 - 06-17-06 18:21. Carrubba

SECOND SUPPLEMENTAL RESPONSE: See following list of

documents/videos/tangible things, produced herewith.

1.

Documents related to victim referenced in Plaintiff's Pre-Discovery
Disclosure.

a. William David Seal all documents previously produced to counsel in
civil action No. 1:08cv175LG-RHW

b. John Aaron Vanderburg all documents previously produced to counsel
in civil action No. 1:08cv0090LG-RHW.

c. Gary Brice McBay all documents previously produced to counsel in
civil action No. 1:07¢v1205LG-RHW.

d. Margueritte Carrubba all documents previously produced to counsel in
civil action No. 1:07cv1237LG-RHW.

e. Only Al-Khidhr, all documents previously produced to counsel in civil
action No. 1:07cv1223LG-RHW.

f. IA Report - IA 2006-005.

Inter Office Memos:

a. Memo to all booking personnel from Captain Rick Gaston dated April
12, 2005, Regarding search of a person.

b. Memo to all booking personnel from Captain Rick Gaston dated April
12, 2005, regarding Handling of Inmates.

c. Memo to all booking personnel from Captain Rick Gaston dated April
12, 2005, regarding HCADC Security Cameras.
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RESPECTFULLY SUBMITTED, this the~___ day of October, 2009.

GEORGE PAYNE, JR., DEFENDANT
BY: DUKES, DUKES, KEATING & FANECA, P.A.

BY: Cu FY a Ads
JCY FANECA “SS

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CERTIFICATE OF SERVICE

I, CY FANECA, do hereby certify that I have this day sent via U.S. Mail a
true and correct copy of the foregoing to the following:

Counsel for Plaintiff:
Robert G. Harenski
1906 Pass Road
Biloxi, MS 39531

Brown Buchanan, PA
796 Vieux Marche, Suite 1
Biloxi, MS 39530

Counsel for Harrison County:
Joseph R. Meadows, Esq.
Post Office Drawer 550
Gulfport, MS 39502

CHA
This, the-*___ day of October, 2009.

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Cy Fpl...
CY FANECA Be

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